

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-60,154-03






EX PARTE TORIBIO FABIAN QUINTERO, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. D-1-DC-12-200528-B 


		IN THE 147TH DISTRICT COURT FROM TRAVIS COUNTY





	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of driving while
intoxicated and sentenced to twenty-five years' imprisonment. 

	Applicant contends that he was denied his right to appeal because an appellate attorney was
not timely appointed by the trial court.  

	The trial court has determined that Applicant was denied his right to appeal.  We find that
Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment of conviction
in Cause No. D-1-DC-12-200528 from the 147th District Court of Travis County.  Applicant is
ordered returned to that time at which he may give a written notice of appeal so that he may then,
with the aid of counsel, obtain a meaningful appeal.  Within ten days of the issuance of this opinion,
the trial court shall determine whether Applicant is indigent.  If Applicant is indigent and wishes to
be represented by counsel, the trial court shall immediately appoint an attorney to represent
Applicant on direct appeal.  All time limits shall be calculated as if the sentence had been imposed
on the date on which the mandate of this Court issues.  We hold that, should Applicant desire to
prosecute an appeal, he must take affirmative steps to file a written notice of appeal in the trial court
within 30 days after the mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 


Delivered: July 24, 2013

Do not publish


